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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

BRIAN KAREM,

               Plaintiff,
                                                   Case No.: 19-cv-2514 (KBJ)
   v.

DONALD J. TRUMP, in his official capacity
as President of the United States and in his
individual capacity; and STEPHANIE
GRISHAM, in her official capacity as White
House Press Secretary and in her individual
capacity,


               Defendants.


                                            NOTICE

        Pursuant to this Court’s order at oral argument on August 27, 2019, see Tr. of Aug. 27,

2019 Hearing 48:4–20, Defendants respectfully inform the Court that there is no written

statement by the Secret Service agent who intervened and spoke to Mr. Karem during the July

11, 2019 incident. In the interest of transparency, Defendants further inform the Court that there

are notes taken by an attorney in the Office of White House Counsel from an interview with the

agent, but Defendants understand that this Court’s order does not apply to such notes. See Tr. of

Aug. 27, 2019 Hearing 48:11–16.



Dated: August 28, 2019                       Respectfully submitted,

                                             JOSEPH H. HUNT
                                             Assistant Attorney General

                                             JAMES BURNHAM
                                             Deputy Assistant Attorney General
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                           ERIC R. WOMACK
                           Assistant Director

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